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718702 UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS

_IN FORMA PAUPERIS APPLICATION

_ FINANCIAL AFFIDAVIT
Fesipsg’ Heol
: me 06C 1/31
Poy 9g case numper_(G.
Liduer. 7 neo Bar’ pce Dew 1h. (Ore

_ Wherever Cis included, please place anX into whichever box applies. Wherever the answer to any question requires

more information than the space that is provided, attach one or more pages that refer to each such question number
and provide the additjonal information, Please PRINT:

I Pein cs LO , declare that I am the Jeplaintte main proce

(other __)inthe above-entitied case. This affidavit constitutes my application proceed
without full prepayment of fees, or Din support of my motion for appointment of counsel, or Li both. Jaiso
declare that I am unable to pay the costs of these proceedings, and that I am entitled to the relief sought in
the complaint/petition/motion/appeal. In support of this petition/application/motion/appeal, I answer the

following questions under penalty of perjury:
1. Are you currently incarcerated? DYes — Mito {If “No,” go to Question 2)

ED.#_ Name of prison or jail:
Do you receive any payment from the institution? DYes LINo Monthly amount:

ee BEWRE THK

2. Are you currently employed?

Monthly salary or wages: ;

Name and address of emplbyer: fLAvC

s. If the answer is “No”:

__ Date of last employment: F E B
Monihly salary or wages: Pp Qo 6
‘Name and address of last employer: f SEP. 6 aoe

b. Are you married? CTYes Fito MICHAEL W, SOssINg
Spouse’s monthly salary or wages: CLERK, U.8, OMTNET CoUny

|

| .

Name and address of employer:
3. Apart from your income stated above in response to Question 2, in the past twelve months have you
| or anyone else living at the same address received more than $200 from any of the following

sources? MarkanX in either “Yes” or “No”, and then check all boxes th apply in each category,
LZ lven “By mycefiew My rises Houle ve’ Aopen er GWE,
: 8, Salary or wages . DYes - oO

. Amount Received by

Ope use put some npaTritin Mpyh, ms Tvs
mo Aon f FMEA . 7

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6b. {) Business, OD) profession or O other self-employment OyYes Sito
Amount Received by
c. Rent payments, 0 interest or OC dividends fives ONo
Amount Zz. hab. 80 Received by 1. x2 lve» RY os

d. CJ Pensions, CF social security, 1 annuities, 0 life insurance, [) disability, C2) workers’
compensation, C/unemployment, 0 welfare, O alimony or maintenance or Ci child support

Oyes 0
Amount Received by
é O Gifts or D inheritances | Yes Jie
Amount Received by
f. OAny other sources (state source: ) Oyes Tht
Amount Received by

: 7 wwf
4, Do you or anyone else living atthe same address have more than $200 in cash or ch king or
savings accounts? bi es DNo Total amo 4 di C, 4 [ Only GT 7- ob

In whose name held: Relationship to you: ge
Vv
5, Do you or anyone else living at the same address own any stocks, bonds, securities oy o a 8 6 THY,
financial instruments? . DYes “bake f m1 nee .
Property: Current Value: 7
In whose name held: - Relationship to you:
6 Do you or anyone else living at the same address own any real estate (houses, apartments,
condominiums, coope tives, two-flats, arog tats, ete.)? ifs . ONo —
_ Address ofproperty: Gil y dy. Hetty ibe LVS
Type ofproperty: SE Current value: gy Urpord MwVEa TD, ry INF} Vi ee
In whose name held Relationship to you: tUtTHEl2 tier INE, .
_ Amount of monthly mortgage or loan payments: (An Kal fv
Name ff person making payments: SEUNS TuC/e ’
WE 1040 sel THE Sonne MDORES fur ver POET TM Ete.
7. Do you or anyone else living at the same address own any automobiles, boats, trailers, mobile
homes or other items of personal property with a current market value of more than $1000? —
[ves ONo
Property:
Current value: t } , J€ée Wie
In whose name held: Relationship to you: A pr AT

8. List the persons who are dependent on you for support, state your relationship to gach person and oon, 4 Gn
1H6 Vote &

indicate how much you coniribute monthly to their support. Ifnone, check here HINo dependents

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I declare under penalty of perjury that the above information is true and correct. I understand that pursuant
to 28 U.S.C. § 1915(e)(2)(A), the court shall dismiss this case at any time if the court determines that my
allegation of pqverty,is untrue,

Date: 7 0 ¢lob

NOTICE TO PRISONERS: A. prisoner must also attach p Statement certified by the appropriate
i h enditures and balances durine the last six

owing all recei

in the prisoner's prison or jail trust fund accounts, Because the law requires information as to such accounts
covering a full six months before you have filed your lawsuit, you must attach a sheet covering transactions
in your own accouni-prepared by each institution where you have been in custody during that six-month
_ period—and you roust also have the Certificate below completed by an authorized officer at each institution,

CERTIFICATE
_ (incarcerated applicants only)
(To be completed by the institution of incarceration) _

I certify that the applicant named herein, , LD.# , has the sum
of$ on account to his/her credit at (name of. institution) .
I further certify that the applicant has the following securities to his/her credit: ___. I further

certify that during the past six months the applicant's average monthly deposit was $
(Add all deposits from all sources and then divide by number of months).

DATE . SIGNATURE OF AUTHORIZED OFFICER

(Print name)

tev. 7/18/02

